                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF WISCONSIN


JAMIE J McGEE,

                       Plaintiff,

                 v.                                         Case No. 19-0707-bhl

MILWAUKEE COUNTY, et al.,

                       Defendants.


                                         SCHEDULING ORDER


       The court held a telephone scheduling conference with the parties’ attorneys on February 4, 2021,
pursuant to Fed. R. Civ. P. 16 and Civil L. R. 16(a) and set the following schedule and procedures.
                                             DISCOVERY

   1. The parties will exchange the information required by Fed. R. Civ. P. 26(a)(1) no later than April
       7, 2021. Supplementations are due as required and in accordance with the provisions of Rule
       26(e).
   2. Amendments to the pleadings may be filed without leave of court on or before May 7, 2021. Fed.
       R. Civ. P. 15 will apply to any amendment filed after that date.
   3. In accordance with Fed. R. Civ. P. 26, Plaintiff’s expert witness disclosure is due on or
       before November 15, 2021 and Defendant’s expert witness disclosure is due on or
       before February 1, 2022. These documents are to be exchanged between the parties and are not
       to be filed with the court.
   4. All fact discovery must be completed no later than October 1, 2021. Discovery requests must be
       served sufficiently in advance of this deadline that timely responses are due before the deadline
       expires.
   5. All expert discovery must be completed no later than March 1, 2022.
   6. Expedited non-dispositive motions must comply with Civil L. R. 7(h).
   7. Counsel seeking non-dispositive procedural relief shall consult with the opposing party and
       include in the motion a statement indicating whether or not the motion is opposed.




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                             SUMMARY JUDGMENT MOTIONS

8. Motions for summary judgment must comply with Fed. R. Civ. P. 56 and Civil L. R. 7 and shall
   be served and filed on or before April 29, 2022.
9. Any summary judgment motion filed against a pro se litigant must comply with Civil L. R. 56(a).

                                FINAL PRETRIAL AND TRIAL

10. A final pretrial will be held on August 11, 2022, at 10:00 a.m., via telephone. To appear by
   telephone, you must call the Court conference line at 1-866-434-5269, and enter access code
   1737450 before the scheduled hearing time. Participants will be placed on hold until the case is
   called.
11. A jury trial will commence on August 22, 2022 at the United States Courthouse, 517 East
   Wisconsin Avenue, Milwaukee, Wisconsin.

                                 ADDITIONAL PROCEDURES

12. All requests of the court must be made by formal motion in accordance with Civil L. R. 7 and the
   Federal Rules of Civil Procedure.
13. Counsel are to confer and make a good faith effort to settle the case and explore various methods
   of alternative dispute resolution (ADR). The court will refer the case to one of the magistrate
   judges for mediation, at no cost to the parties, when a request is made at least ninety (90) days
   prior to the final pretrial conference.
14. Settlement discussions must be completed prior to the final pretrial conference. In cases where
   settlement occurs after the final pretrial conference, the court may impose jury-related costs,
   including notification, travel, and attendance fees, upon the responsible attorneys.
15. The foregoing schedule shall not be modified except upon a showing of good cause and by leave
   of the court. The pendency of motions or settlement discussions shall not justify modification of
   the schedule, nor delay the taking of discovery.

   SO ORDERED on February 4, 2021.

                                                 s/ Brett H. Ludwig
                                                 BRETT H. LUDWIG
                                                 United States District Judge




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